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                                               CONSTANTINE CANNON LLP


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                                                     January 26, 2022


VIA ECF

The Honorable Laurel Beeler
United States Magistrate Judge
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

       Re:        Djeneba Sidibe et al. v. Sutter Health, Case No. 3:12-cv-04854-LB

Dear Judge Beeler:

        This evening, a letter dated today was forwarded to us by Mr. Jeffrey LeVee from Mr.
John P. Brumbaugh, General Counsel for King & Spalding relating to Your Honor’s former law
clerk, Ms. Meghan Strong. ECF No. 1410. Mr. Brumbaugh’s letter provides us with some of
the additional information that we have been seeking for almost two weeks from K&S and which
we asked Your Honor to compel K&S to provide. In particular, the letter provides additional
information related to the contours of the association that Ms. Strong had with K&S and its
attorneys and confirms, for the first time, that K&S never advised Your Honor of its long-
standing representation of defendant Sutter, including in this matter, prior to or during Ms.
Strong’s clerkship.

         Plaintiffs find some of the additional information that K&S provided in the referenced
letter troubling, including, but not limited to, the fact that K&S lawyers “with whom [Ms.
Strong] worked . . . told” Ms. Strong, prior to her clerkship with Your Honor, that they “hoped
that she would return” to K&S. In the very least, this shows that Ms. Strong knew that she had a
significant potential opportunity to return to K&S while she worked on this case and knew that
Sutter Health was a client for that firm.

        Plaintiffs have only been in receipt of this newly-produced information for about an hour.
As a result, we ask that the Court provide us with an opportunity to digest it and determine
whether any further filing by Plaintiffs relating to Ms. Strong’s clerkship is warranted before the
Court makes any statement concerning it. Specifically, we ask that the Court hold off on making
any statement on this issue until the morning of Friday, January 28, 2022. If Plaintiffs are to file
any additional correspondence on this issue, we will do so by tomorrow close-of business.




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       Thank you for your continued attention to this matter.

                                            Respectfully submitted,

                                            /s/ Matthew L. Cantor

                                            Matthew L. Cantor


cc: Counsel of record




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